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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

UNITED STATES OF AMERICA, : Case No. 9 -| 3 ( | { DAK
Plaintiff,
INDICTMENT
v.
Vios.
MICHAEL DON GIBBS, : Count 1 - 18 U.S.C. §§ 2252A(a)(2)(A)
and (b)(1) (Receipt of Child
Defendant. © : Pornography)

Count 2 - 18 U.S.C. §§ 2252A(a)(5)(B)
and (b)(2) (Possession of Child
Pornography)

The Grand Jury charges:

Count 1
18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1)

(Receipt of Child Pornography)
ye
July € pA
On or about-Nevertber-8; 2017, in the Central Division of the District of Utah and

elsewhere,
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MICHAEL DON GIBBS,
defendant herein, knowingly received child pornography, as defined in 18 U.S.C.
§ 2256(8), that had been shipped and transported in and affecting interstate and foreign
commerce, including by computer, and attempted to do so; All in violation of 18 U.S.C.
§§ 2252A(a)(2)(A) and (b)(1).

Count 2
18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2)
(Possession of Child Pornography)
Beginning on a date unknown and continuing through on or about September 24,

2018, in the Central Division of the District of Utah,

MICHAEL DON GIBBS,
defendant herein, knowingly possessed any material which contained an image of child
pornography, involving a minor who had not attained 12 years of age, as defined in 18
ULS.C. § 2256(8), that had been mailed, shipped, and transported in interstate and foreign
commerce by any means, including by computer, and which images were produced using
materials that had been mailed, shipped, and transported in and affecting interstate and
foreign commerce, including by computer, and attempted to do so; All in violation of 18
U.S.C. §§ 2252A(a)(5)(B) and (b)(2).

NOTICE OF INTENT TO SEEK FORFEITURE

Pursuant to 18 U.S.C. § 2253, upon conviction of a knowing violation of 18 U.S.C.

—§ 2252A, as alleged in Counts | and 2 of this Indictment, the defendant shall forfeit to the
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United States, (i) any visual depiction described in 2251, 2251A, or 2252, 2252A, 2252B,

or 2260 of this chapter, or any book, magazine, periodical, film, videotape, or other matter

which contains any such visual depiction, which was produced, transported, mailed,

shipped, or received in violation of this chapter; (ii) any property, real or personal,

constituting or traceable to gross profits or other proceeds obtained from such offense; and

(iii) any property, real or personal, used or intended to be used to commit or to promote the

commission of such offense or any property traceable to such property. The property to be

forfeited includes, but is not limited to, the following:

Mac Tower S/N: CO7J90DTF4MH

HP Laptop S/N: CNFG431S66

Sandisk Memory Card

Seagate External Hard Drive S/N: NA71W2KD

M4 Passport External Hard Drive S/N: WX91A968Y3E6
Macbook

3 DVDs

Apple iPad S/N: DLXGCVB7DFHY

Apple iPhone 7 .

IBuy Power Computer Tower S/N: 6DA8-A582-2E1C-AC01-3
M4 Passport External Hard Drive S/N: WX31E92X5787

If any of the property described above, as a result of any act or omission of the

defendant:

cannot be located upon the exercise of due diligence;
has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or
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e. has been commingled with other property which cannot be divided
without difficulty,
the United States of America shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.§ 2253(b) and 28 U.S.C. § 2461(c).

A TRUE BILL:

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FOREPERSON OF THE GRAND JURY

APPROVED:

JOHN W. HUBER
United States Attorney

MARK Y°
Assistant United States Attorney
